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1                                     JURISDICTION AND VENUE
2               1.          These claims arise under the laws of the United States, particularly under
3       the federal Trademark Act, as amended, 15 U.S.C. § 1051 et seq., Cal. Bus. & Prof. Code §
4       17200 and California statutory and common law. Jurisdiction is proper under 28 U.S.C. §§
5       1331 and 1138(a). Jurisdiction is also proper pursuant to the Court's supplemental
6       jurisdiction as provided in 28 U.S.C. § 1367.
7               2.          This Court has specific personal jurisdiction over all of the defendants as
8       each has purposefully committed, within the state, the acts from which these claims arise
9       and/or has committed tortious acts outside California, knowing and intending that such acts
10      would cause injury within the state.
11              3.          Venue is proper in the United States District Court for the Central District
12      pursuant to 28 U.S. C. §§ 1391(b) and 1391(c) in that some defendants reside in this
13      District, transact affairs in this District and that a substantial part of the events or omissions
14      giving rise to the claims herein occurred within this District.
15                                            THE PARTIES
16              4.          Plaintiff Agustin Ramirez is a U.S. citizen and resident of California.
17              5.          Plaintiff alleges on information and belief that defendant Martin Navarro is
18      a resident of San Bernardino County, State of California.
19              6.          Plaintiff alleges on information and belief that defendant Angel Juarez is a
20      resident of Los Angeles County, California.
21              7.          Plaintiff alleges on information and belief that Estate of Humberto Navarro,
22      who is deceased, is represented by Alicia Navarro, the decedent‟s widow.
23              8.          The true names and capacities, whether individual, corporate or otherwise,
24      of the defendants named herein as Does 1 through 10 are presently unknown to plaintiff,
25      who therefore sues said defendants by such fictitious names. Plaintiff will seek to amend
26      this complaint to allege the true names and capacities of said defendants when he has
27      ascertained such information. Plaintiff is informed and believes that each defendant named
28




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1       herein as Does 1 through 10 has participated in some or all of the acts or conduct alleged in
2       this Complaint and is liable to Plaintiff by reason thereof.
3               9.          Plaintiff is informed and believe that defendants DOES 1-10 are musicians
4       hired by the defendants Martin Navarro and Angel Juarez herein to perform the services
5       which infringe upon and dilute plaintiff‟s mark, as alleged below.
6                                  HISTORY OF LOS CAMINANTES
7               10.         In the late 1970‟s, plaintiff Agustin Ramirez founded the musical group
8       “Los Caminantes Aztecas” (“The Aztec Walkers”) in the city of Bloomington, California.
9       The initial members of the group were plaintiff Ramirez and his brothers Brigido Ramirez,
10      Horacio Ramirez and Martin Ramirez.
11              11.         From the inception of the group, plaintiff Agustin Ramirez is and has been
12      the lead vocalist of the group, a role he has performed continuously since the founding of
13      the group to the present day in connection with the “Los Caminantes” name.
14              12.         After the “Los Caminantes Aztecas” recorded a few songs, decedent
15      Humberto Navarro joined the group briefly as a drummer for the group, only to be replaced
16      by his brother Manuel Navarro. A few years later, Humberto Navarro rejoined the group,
17      and remained a member of the group from that time until his death in June 2011.
18              13.         After the musical group signed a recording contract with Luna Records
19      (also known as Luna Music), in or about the year 1982, the “Aztecas” adjective was
20      dropped, leaving the name “Los Caminantes,” or “The Walkers.” By that time, the
21      members of the “Los Caminantes” performing group were plaintiff Ramirez, his brothers
22      Brigido, Horacio, and Martin, and the decedent Humberto Navarro.
23              14.         The members of the musical group “Los Caminantes” acted as partners,
24      sharing in the management, profits and expenses of the group.
25              15.         Over the next 18 years, “Los Caminantes” recorded approximately 29
26      albums for Luna Records/Luna Music, with plaintiff Agustin Ramirez always as lead
27      vocalist. During the same period of time, the musical group “Los Caminantes” toured
28      extensively throughout the United States and Mexico, performing in dances, concerts and



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1       massive outdoor events. The group became wildly popular for its “grupero” musical style
2       within the Regional Mexican musical genre. The group appeared on numerous television
3       shows aimed at the Spanish-speaking audience of the United States, Mexico and the
4       Americas.
5               16.         In the years following the signing of the musical group to its first recording
6       contract, which also signaled the national and international touring of the group, Martin
7       Ramirez died in an auto accident and Brigido and Horacio Ramirez each withdrew from the
8       group. By approximately 1995, the only remaining partners of the “Los Caminantes”
9       musical group were plaintiff Agustin Ramirez and decedent Humberto Navarro. The two
10      hired musicians to perform with the group, some of whom have been with the group for
11      well over a decade. However, plaintiff Agustin Ramirez and decedent Humberto Navarro
12      were the only individuals to share in the control, profits and expenses of the musical group.
13              17.         In the year 2000, plaintiff Agustin Ramirez and decedent Humberto
14      Navarro signed as “Los Caminantes” with the Fonovisa record label, which resulted in the
15      production of five (5) albums, for which plaintiff Agustin Ramirez was the lead vocalist. In
16      2006, they signed again with the record label associated with the owners of Luna Music,
17      resulting in the production of three (3) more albums, for which Agustin Ramirez, again,
18      was the lead vocalist.
19              18.         Luna Records/Luna Music registered the trademark LOS CAMINANTES
20      with the United States Patent and Trademark Office (“USPTO”), in international
21      classification no. 009 for a “series of phonograph records, pre-recorded audio cassette tapes
22      and pre-recorded compact discs, all featuring music,” Ser. No. 74/372907. A certificate of
23      registration for the trademark was issued in the name of Luna Music Corporation on
24      December 28, 1993, and later assigned to Luna Management LLC. The registration was
25      cancelled in October 2004.
26              19.         In 2005, the attorney for plaintiff Agustin Ramirez and decedent Humberto
27      Navarro filed for registration of the trademark LOS CAMINANTES mark in international
28      classification no. 009 in the name of “Los Caminantes Partnership, composed of Humberto



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1       Navarro and Agustin Ramirez,” for a “series of prerecorded phonograph records, audio
2       cassettes, video cassettes, and compact discs featuring music played in Spanish,” Ser. No.
3       78/657655.          A certificate of registration for the trademark was issued in the name of the
4       partnership in 2006, Reg. No. 3,129,214. USPTO printout, Exhibit A.
5               20.          There is no evidence of an application for registration of the name “Los
6       Caminantes” as a service mark with the USPTO.
7               21.          Plaintiff is informed and believes that the partners of the “Los Caminantes”
8       musical group never entered into a formal partnership agreement.
9               22.          Plaintiff never assigned his rights in the “Los Caminantes” name and
10      goodwill associated with the mark to either the partnership with decedent Humberto
11      Navarro or to any individual or entity.
12              23.          At different periods during the history of the group “Los Caminantes,”
13      defendant Angel Juarez acted as the manager of the group. Defendant Angel Juarez was a
14      former employee of Luna Records, the first record company with which the “Los
15      Caminantes” group signed, and performed management, booking and entertainment
16      services for the group on more than one occasion.
17                               PLAINTIFF IS ALERTED TO POSSIBLE
18                              SHENANIGANS REGARDING THE “LOS
19                                         CAMINANTES” NAME
20              24.          Approximately a year or more prior to the filing of this lawsuit, plaintiff
21      Agustin Ramirez was advised by defendant Angel Juarez that decedent Humberto Navarro
22      had some blank documents with Agustin Ramirez‟s signature on them, and that decedent
23      Humberto Navarro intended to use them to “take over” the name “Los Caminantes” from
24      plaintiff.
25              25.          Plaintiff believes that he signed blank documents on two occasions, once at
26      the request of the group‟s attorney in Tijuana, Mexico who was litigating a case against a
27      “pirate” group that performed using the name “Los Caminantes.” Presumably, the attorney
28      needed documents with original signatures in case they became necessary in that action.



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1       The second time plaintiff believes he signed blank documents was at the request of Luna
2       Records, the original recording company of “Los Caminantes.”
3               26.         When plaintiff confronted decedent Humberto Navarro in front of several
4       other individuals regarding the above allegations of defendant Angel Juarez, decedent
5       Humberto Navarro admitted that he had obtained some blank documents with Agustin
6       Ramirez‟s signature on them from the group‟s former record company, but claimed that he
7       had torn the documents up and had thrown them away.
8               27.         Plaintiff later advised defendant Angel Juarez of decedent Humberto
9       Navarro‟s response to the accusations regarding the intended use of signed blank
10      documents. Defendant Angel Juarez advised plaintiff that decedent Humberto Navarro‟s
11      denials were untrue, and that plaintiff should be careful because decedent Humberto
12      Navarro intended to use the blank documents to take the “Los Caminantes” name from
13      plaintiff.
14              28.         Plaintiff is informed and believes that a blank document with his signature
15      was indeed used to manufacture a fraudulent document purporting to transfer plaintiff‟s
16      rights in the business and mark of “Los Caminantes” to decedent Humberto Navarro.
17      Indeed, in a letter dated September 14, 2011 directed to Agustin Ramirez, Alejandro
18      Menchaca, the purported attorney for the Estate of Humberto Navarro, alleges the existence
19      of just such a document, as follows:
20                    “[Y]ou ceded and assigned any and all rights you had in the
21                    „Los Caminantes‟ mark to Humberto Navarro by virtue of a
22                    written „Assignment of Rights‟ dated January 16, 2007.”
23      Letter of Alejandro Menchaca, Exhibit B. In the unfiled federal complaint that
24      accompanies Mr. Menchaca‟s letter, the following is alleged:
25                    “ . . . Martin Navarro now holds all rights to the „Los
26                    Caminantes‟ mark . . . .”
27      Unfiled Complaint, Exhibit C, p. 7, ¶ 27.
28




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1               29.         If such a document indeed exists, and it is dated January 16, 2007, as
2       alleged in Mr. Menchaca‟s letter, it nevertheless is a fact that no purported assignment of
3       the trademark registration “Los Caminantes” in international classification 009 (for records)
4       was ever recorded with the USPTO, as evidenced by a print-out of the assignment history
5       for LOS CAMINANTES, Ser. No. 78/657655, which states: “No assignment has been
6       recorded at the USPTO.” Print-out of LOS CAMINANTES assignment history, Exhibit D.
7                             “LOS CAMINANTES” AFTER HUMBERTO
8                                               NAVARRO
9               30.         As decedent Humberto Navarro became ill at the beginning of June 2011,
10      his son, defendant Martin Navarro, took his place as the drummer for the live performances
11      of “Los Caminantes.” Over the ensuing weeks, defendant Martin Navarro continued to
12      perform with “Los Caminantes.”
13              31.         As the remaining partner and member of the Los Caminantes Partnership,
14      plaintiff Agustin Ramirez paid the partnership share of profits that would have been paid to
15      decedent Humberto Navarro to his son Martin.
16              32.         Soon after decedent Humberto Navarro‟s death, plaintiff Agustin Ramirez
17      learned that defendant Angel Juarez had summoned some of the musicians that perform
18      with “Los Caminantes” to his office, where Juarez and defendant Martin Navarro offered
19      money to leave plaintiff Agustin Ramirez and form a “Los Caminantes” musical group with
20      defendant Juarez and Navarro.
21                          THE INFRINGING ACTS BEGIN—WEEKEND OF
22                                       SEPTEMBER 17, 2011
23              33.         Defendants Angel Juarez and Martin Navarro, apparently basing their
24      actions on a fraudulently concocted transfer of plaintiff‟s rights in the “Los Caminantes”
25      business and name, formed a group of musicians using the name “Los Caminantes.” The
26      two performances of which plaintiff Agustin Ramirez has been informed include one at
27      Leonardo‟s Nightclub of Hunting Park, California, owned by defendant Leonardo‟s
28




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1        Nightclub, a California corporation, scheduled for September 17, 2011. Poster for
2        September 17, 2011 dance, Exhibit E.
3                34.         The second event was scheduled at Harrah‟s Rincon casino in Valley
4        Center, California. The webpage for Harrah‟s uses a picture of plaintiff Agustin Ramirez in
5        its ad for “Super Big Dance” at the casino on Friday, September 23, 2011. Harrah‟s Rincon
6        webpage, Exhibit F.
7                35.         In addition to the infringing activities described above, and others which
8        plaintiff Agustin Ramirez has yet to discover, plaintiff is informed and believes that
9        defendant Martin Navarro has threatened the musicians that perform with plaintiff‟s group
10       that Martin Navarro will send the police to plaintiff‟s performances, presumably to arrest
11       the musicians for violating defendant Martin Navarro‟s purported rights in the “Los
12       Caminantes” name.
13                      AGUSTIN RAMIREZ IS ENTITLED TO OWNERSHIP
14                           AND CONTROL OF THE “LOS CAMINANTES”
15                                                  MARK
16               36.         Plaintiff Agustin Ramirez is entitled to ownership and control of the “Los
17       Caminantes” mark under at least three different legal theories.
18               37.         First, plaintiff Agustin Ramirez is arguably the owner of the “Los
19       Caminantes” mark, as the sole remaining member of the group that first used the “Los
20       Caminantes Aztecas” (“The Aztec Walkers”) service mark, later shortened to “Los
21       Caminantes” (“The Walkers”). Humberto Navarro did not join the group until later in its
22       history, and there is no evidence, other than the fraudulent document alluded to above, that
23       plaintiff Ramirez transferred his interest in the “Los Caminantes” mark to either the Los
24       Caminantes Partnership or to the decedent Humberto Navarro .          It is axiomatic that the
25       senior user of a mark is the owner of the mark, Sengoku Works Ltd. v. RMC Int'l, Ltd., 96
26       F.3d 1217, 1219 (9th Cir.1996), and that title to a trademark is independent of its
27       registration. E.F. Prichard Co. v. Consumers Brewing Co., 136 F.2d 512, 518 (6th
28       Cir.1943) (citation omitted). “One who is the owner of a trademark does not, by entering a



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1        partnership and permitting the use of the trademark by the partnership, transfer his interest
2        in the mark to the [partnership].” Id., 136 F.2d at 521. Property may be acquired by a
3        partnership through transfer of title following purchase of property with partnership assets.
4        Calif. Corp. Code § 16204. There is no evidence plaintiff Agustin Ramirez at any time
5        transferred his interest in the “Los Caminantes” service mark to Humberto Navarro or the
6        Los Caminantes partnership, or that any consideration was paid to plaintiff for such a
7        transfer. Upon dissolution of the partnership with the decedent Humberto Navarro,
8        Ramirez retains his ownership in the LOS CAMINANTES service mark as it relates to his
9        services as a performing and recording artist and vocalist, and is entitled to continue with
10       the business.
11               38.         Second, if it is determined that plaintiff Agustin Ramirez and decedent
12       Humberto Navarro, as partners in the Los Caminantes Partnership that registered the LOS
13       CAMINANTES trademark with the USPTO, owned the trade name and service mark “Los
14       Caminantes,” then plaintiff Agustin Ramirez is entitled to continue on with the business
15       under the Los Caminantes name. Not only is Agustin Ramirez the sole remaining partner,
16       and thus entitled to continue conducting the business of “Los Caminantes” under the “Los
17       Caminantes” mark, his name, voice and image are associated with the “Los Caminantes”
18       mark. A trademark and its good will cannot be split up without destroying the mark.
19       Therefore, the rights in the business, trademark and service mark of “Los Caminantes”
20       continue with Agustin Ramirez as the sole remaining member and lead singer. The Estate
21       of the decedent Humberto Navarro is entitled to compensation for its interest in the
22       partnership business as part of the buyout of the business by plaintiff pursuant to the
23       provisions of the Uniform Partnership Act of 1994, Cal. Corp. Code §§ 16100 et seq., but
24       the estate is not entitled to take the “Los Caminantes” name and transfer or license it to
25       third parties, as defendants apparently have attempted to do.
26               39.         Third, plaintiff Agustin Ramirez is entitled under principles of equity to the
27       business and associated trademark and service mark of “Los Caminantes” by virtue of the
28       fraudulent conduct of decedent Humberto Navarro in creating a forged transfer of the “Los



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1      Caminantes” name, and the conduct of defendants Estate of Humberto Navarro, Martin
2      Navarro and Angel Juarez in utilizing the transfer that defendant Juarez knows to be
3      fraudulent in an attempt to usurp plaintiff Ramirez‟s rights. Decedent‟s estate is entitled to
4      compensation for the buyout of decedent‟s interest in the partnership, less monetary
5      damages and expenses incurred by plaintiff Agustin Ramirez as a result of decedent‟s
6      wrongful conduct, but the Estate is not entitled to take over the partners or usurps the
7      business and name of the “Los Caminantes” from plaintiff Agustin Ramirez.
8              40.         Defendants should be enjoined from any use of the “Los Caminantes”
9      name, or any name colorably similar to the “Los Caminantes” name, and this court should
10     determine the fair compensation to be paid to the Estate of Humberto Navarro for the
11     decedent‟s interest in the partnership business, less any amounts plaintiff Agustin Ramirez
12     is compelled to expend in the defense of plaintiff‟s rights in the name and business of “Los
13     Caminantes” due to the fraudulent conduct of the defendants.
14                                    FIRST CLAIM FOR RELIEF
15                         (FEDERAL TRADEMARK INFRINGEMENT AND
16                                     UNFAIR COMPETITION)
17             41.         Plaintiff realleges and incorporates in this cause of action all previous
18     paragraphs of this complaint.
19             42.         This claim for relief arises under 15 U.S.C. § 1125(a)(1)(A) and is alleged
20     against all defendants.
21             43.         Under applicable law, including without limitation the three legal theories
22     described above, plaintiff is the owner of the mark “Los Caminantes,” or is entitled to sole
23     use and ownership of the business, goodwill, trademark and service mark of “Los
24     Caminantes.”
25             44.         None of the defendants named herein have any claim or colorable right to
26     utilize the name “Los Caminantes” either in connection with the live performances or sound
27     recordings of plaintiff‟s musical group “Los Caminantes.”
28




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1              45.         Defendants are using plaintiff‟s “Los Caminantes” mark so as to cause
2      confusion as to plaintiff‟s association with, affiliation with, or sponsorship of the
3      performance of defendants‟ musical group. Defendants‟ actions have led to instances of
4      actual confusion by promoters and consumers, including the use of the “Los Caminantes”
5      name in advertising and the use of the image of plaintiff Agustin Ramirez in such
6      advertising.
7              46.         Defendants‟ actions constitute unfair competition in violation of section
8      43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
9              47.         The actions of defendants, as alleged herein, have cause substantial damage
10     to plaintiff‟s reputation and mark.
11             48.         The actions of defendants and each of them as herein alleged were and are
12     intended to cause confusion, have caused confusion, and will continue to cause confusion
13     unless enjoined.
14             49.         For each act of unfair competition, plaintiff is entitled to recover actual
15     damages as well as defendants‟ profits from such infringement.
16             50.         Plaintiff is entitled to treble damages and prejudgment interest under 15
17     U.S.C. ¶ 1117.
18             51.         Plaintiff is informed and believes that the acts of defendants complained of
19     herein were undertaken willfully and with the intention of causing confusion, mistake or
20     deception.
21             52.         Monetary relief alone is not adequate to address fully the irreparable injury
22     that defendants‟ illegal actions have caused and will continue to cause plaintiff if
23     defendants‟ actions are not enjoined. Plaintiff therefore is also entitled to preliminary and
24     permanent injunctive relief to stop defendants‟ ongoing acts of unfair competition.
25                                  SECOND CLAIM FOR RELIEF
26                                             (DILUTION)
27             53.         Plaintiff realleges and incorporates in this cause of action all previous
28     paragraphs of this complaint.



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1              54.         This claim for relief arises under section 43(c) of the Lanham Act, 15
2      U.S.C. § 1125(c) and is alleged against all defendants.
3              55.         Under applicable law, including without limitation the three legal theories
4      described above, plaintiff is the owner of the mark “Los Caminantes,” or is entitled to sole
5      use and ownership of the business, goodwill, trademark and service mark of “Los
6      Caminantes.”
7              56.         The trade name and mark “Los Caminantes” has become famous
8      throughout the United States, through use in the advertising of the musical group‟s services,
9      through airplay, record sales, appearances of the musical group on broadcast television in
10     Mexico and the United States, newspaper and magazine articles concerning the group, and
11     through public appearances at dances and events.
12             57.         Defendants‟ unauthorized use of plaintiff‟s trade name and mark does and
13     will dilute the distinctive quality of the trade name and mark and will diminish and destroy
14     the public association of the trade name and mark with plaintiff and plaintiff‟s group “Los
15     Caminantes.”
16             58.         In engaging in the actions complained of above, defendants and each of
17     them willfully intended and intend to trade on the reputation of plaintiff‟s musical group.
18             59.         In engaging in the actions complained of above, defendants and each of
19     them have willfully intended to cause dilution of the famous trade name and mark
20     belonging to plaintiff.
21             60.         For each act of unfair competition, plaintiff is entitled to recover actual
22     damages as well as defendants‟ profits from such infringement.
23             61.         Plaintiff is entitled to treble damages and prejudgment interest under 15
24     U.S.C. ¶ 1117.
25             62.         Plaintiff is informed and believes that the acts of defendants complained of
26     herein were undertaken willfully and intentionally by defendants.
27             63.         Monetary relief alone is not adequate to address fully the irreparable injury
28     that defendants‟ illegal actions have caused and will continue to cause plaintiff if



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1      defendants‟ acts are not enjoined. Plaintiff therefore is also entitled to preliminary and
2      permanent injunctive relief to stop defendants‟ ongoing acts of unfair competition.
3                                     THIRD CLAIM FOR RELIEF
4                                (COMMERCIAL DISPARAGEMENT)
5              64.         Plaintiff realleges and incorporates in this cause of action all previous
6      paragraphs of this complaint.
7              65.         This claim for relief arises under 15 U.S.C. § 1125(a)(1)(B) and is alleged
8      against all defendants.
9              66.         Under applicable law, including without limitation the three legal theories
10     described above, plaintiff is the owner of the mark “Los Caminantes,” or is entitled to sole
11     use and ownership of the business, goodwill, trademark and service mark of “Los
12     Caminantes.”
13             67.         Defendants and their cohorts, in connection with others, have
14     misrepresented the nature, characteristics and qualities of defendants‟ musical group in a
15     manner that has caused, and is likely to continue to cause, damage to plaintiff.
16             68.         In engaging in the actions complained of above, defendants and each of
17     them willfully intended and continue to intend to trade on the reputation of plaintiff and
18     plaintiff‟s musical group “Los Caminantes.”
19             69.         In engaging in the actions complained of above, defendants and each of
20     them have willfully intended to cause dilution of the famous trade name and mark
21     belonging to plaintiff.
22             70.         For each act of unfair competition, plaintiff is entitled to recover actual
23     damages as well as defendants‟ profits from such infringement.
24             71.         Plaintiff is entitled to treble damages and prejudgment interest under 15
25     U.S.C. ¶ 1117.
26             72.         Plaintiff is informed and believes that the acts of defendants complained of
27     herein were undertaken willfully and intentionally by defendants.
28




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1              73.         Monetary relief alone is not adequate to address fully the irreparable injury
2      that defendants‟ illegal actions have caused and will continue to cause plaintiff if not
3      enjoined. Plaintiff therefore is also entitled to preliminary and permanent injunctive relief
4      to stop defendants‟ ongoing unfair competition.
5                                   FOURTH CLAIM FOR RELIEF
6                                 (BREACH OF FIDUCIARY DUTY)
7              74.         Plaintiff realleges and incorporates in this cause of action all previous
8      paragraphs of this complaint.
9              75.         This claim for relief arises under the laws of the State of California and is
10     alleged all defendants.
11             76.         As alleged above, decedent Humberto Navarro, according to his own
12     attorney, created a document purporting to transfer the “Los Caminantes” mark and/or
13     plaintiff Agustin Ramirez‟s interest in the business, goodwill and mark “Los Caminantes”
14     to himself, with an effective date of such transfer, per decedent‟s attorney, of January 16,
15     2007.
16             77.         The actions of decedent Humberto Navarro constituted a breach of
17     fiduciary duty as well as fraudulent conduct meant to usurp plaintiff Agustin Ramirez‟s
18     interest in “Los Caminantes” and cause third parties to cease working with Agustin
19     Ramirez.
20             78.         The misconduct of decedent Humberto Navarro is and was ratified and
21     propagated by defendants Estate of Humberto Navarro, Martin Navarro and Angel Juarez.
22             79.         Defendants Martin Navarro and Angel Juarez knew of the fraudulent nature
23     of decedent Humberto Navarro‟s actions, and have ratified and sought to take advantage of
24     the fraudulent conduct by advising plaintiff and third parties that plaintiff no longer has any
25     interest in the “Los Caminantes” name or the business of the musical group Los
26     Caminantes. Defendants Martin Navarro and Angel Juarez have gone so far as to form a
27     new group and book the group‟s performances under the “Los Caminantes” name to the
28     exclusion of plaintiff Agustin Ramirez.



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1              80.         Plaintiff Agustin Ramirez is entitled to enforce his rights under the Uniform
2      Partnership Act of 1994, including compelling the transfer by the Estate of Navarro of any
3      interest the Estate has in the name “Los Caminantes,” the registration of the “Los
4      Caminantes” mark before the United States Patent and Trademark Office, as well as the
5      goodwill and business of the musical group Los Caminantes. To provide otherwise would
6      reward the fraudulent and disloyal conduct of decedent Humberto Navarro in creating a
7      fraudulent purported transfer of the “Los Caminantes” name by plaintiff Agustin Ramirez.
8              81.         Plaintiff is also entitled to such other equitable relief as will make him
9      whole for the fraudulent conduct of decedent Humberto Navarro, as ratified and propagated
10     by defendants Martin Navarro and Angel Juarez.
11             82.         Plaintiff is entitled to monetary damages against defendants Estate of
12     Humberto Navarro, Martin Navarro and Angel Juarez.
13             83.         The aforementioned acts of defendants were and are willful, oppressive and
14     malicious. Plaintiff therefore should be awarded punitive damages in an amount to be
15     alleged by amendment to this complaint.
16                                    FIFTH CLAIM FOR RELIEF
17                               (DISSOLUTION OF PARTNERSHIP)
18             84.         Plaintiff realleges and incorporates in this cause of action all previous
19     paragraphs of this complaint.
20             85.         This claim for relief arises under the laws of the State of California and is
21     alleged against all defendants.
22             86.         Although a partnership may be dissolved by operation of law upon the
23     death of a partner, plaintiff Agustin Ramirez is informed and believes that decedent
24     Humberto Navarro sought to destroy the partnership, if any indeed existed, by creating a
25     fraudulent transfer of plaintiff Agustin Ramirez‟s interest in the “Los Caminantes” mark
26     and trade name with an effective date of January 16, 2007.
27             87.         Plaintiff is entitled to operate the business of the Los Caminantes
28     Partnership, including the transfer of the mark and associated goodwill and business of Los



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1      Caminantes to plaintiff, and to compensate the Estate of Navarro for any amounts to which
2      this Court determines the Estate is entitled for the buyout of the Estate‟s interest, less any
3      monetary damages, expenses and attorney‟s fees plaintiff Ramirez has had to incur to
4      remedy the fraudulent and disloyal conduct of decedent Humberto Navarro, as ratified and
5      furthered by defendants Martin Navarro and Angel Juarez.
6              88.         Plaintiff is further entitled to continue with the business of “Los
7      Caminantes” as sole owner of the “Los Caminantes” mark.
8              89.         Plaintiff is further entitled to an accounting from the Estate of Humberto
9      Navarro for any amounts decedent Humberto Navarro wrongfully obtained from plaintiff
10     Agustin Ramirez and/or the Los Caminantes Partnership by virtue of the fraudulently
11     created document by which decedent Humberto Navarro purported to transfer the interest of
12     Agustin Ramirez in “Los Caminantes” as of January 16, 2007.
13             90.         Plaintiff is entitled to a court order granting plaintiff the right to exercise the
14     above rights as the sole remaining partner of the Los Caminantes Partnership.
15                                    SIXTH CLAIM FOR RELIEF
16                                                (FRAUD)
17             91.         Plaintiff realleges and incorporates in this cause of action all previous
18     paragraphs of this complaint.
19             92.         This claim for relief arises under the laws of the State of California and is
20     alleged against all defendants.
21             93.         Decedent Humberto Navarro created the fraudulent document alluded to
22     above in order to usurp plaintiff Agustin Ramirez‟s interest in the “Los Caminantes” mark
23     and in the business of the musical group Los Caminantes.
24             94.         Decedent Humberto Navarro placed the date January 16, 2007 on the
25     fraudulent document, demonstrating an intention to usurp plaintiff Agustin Ramirez‟s
26     interests as of that date.
27

28




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     Ramirez vs. Navarro                                                                     COMPLAINT
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1              95.         Decedent Humberto Navarro represented to plaintiff Agustin Ramirez that
2      the two were partners in the musical group Los Caminantes, and that they shared
3      partnership income, expenses and assets equally.
4              96.         Decedent Humberto Navarro‟s representations were false. In fact, decedent
5      Humberto Navarro engaged in conduct out of sight of plaintiff Ramirez by which he
6      conducted himself as though the Los Caminantes name, business and musical group was his
7      sole possession, and plaintiff is informed and believes that decedent Humberto Navarro
8      absconded with earnings, property and other assets that rightfully belonged to the Los
9      Caminantes Partnership.
10             97.         Plaintiff Agustin Ramirez was unaware that Humberto Navarro was in
11     possession of a fraudulently created transfer document, although he had been alerted to the
12     possibility that decedent Humberto Navarro intended to create such a document.
13             98.         In reliance upon decedent Humberto Navarro‟s representations and conduct
14     to the effect that he was in a partnership with plaintiff Agustin Ramirez, and that decedent
15     Humberto Navarro honored the partnership existence by accounting and sharing in the
16     earnings, property and other assets of the partnership, plaintiff Agustin Ramirez continued
17     to conduct himself as a partner in the partnership.
18             99.         Plaintiff did not discover the true facts concerning decedent Humberto
19     Navarro‟s conduct until September 14, 2011, when plaintiff Agustin Ramirez learned for
20     the first time that the fraudulent document had been created, when he was advised in a letter
21     from the attorney for defendant Estate of Navarro of the existence of a purported transfer of
22     the “Los Caminantes” mark, purportedly signed by plaintiff Agustin Ramirez.
23             100.        Defendants Estate of Humberto Navarro, Martin Navarro and Angel Juarez
24     have propagated decedent Humberto Navarro‟s fraudulent conduct by claiming that
25     plaintiff Agustin Ramirez transferred his rights in the “Los Caminantes” name and business
26     in 2007, even though defendants know that the document upon which they base their claims
27     is fraudulent.
28




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     Ramirez vs. Navarro                                                               COMPLAINT
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1              101.        As a result of the fraudulent conduct of decedent Humberto Navarro, as
2      ratified and propagated by defendants Martin Navarro and Angel Juarez, plaintiff Agustin
3      Ramirez has suffered monetary damages in an amount to be pled by amendment to this
4      complaint.
5              102.        The aforementioned acts of defendants were and are willful, oppressive and
6      malicious. Plaintiff therefore should be awarded punitive damages in an amount to be
7      alleged by amendment to this complaint.
8                                  SEVENTH CLAIM FOR RELIEF
9                          (STATE LAW TRADE NAME INFRINGEMENT)
10             103.        Plaintiff realleges and incorporates in this cause of action all previous
11     paragraphs of this complaint.
12             104.        This claim for relief arises under the laws of the State of California and is
13     alleged against all defendants.
14             105.        Under applicable law, including without limitation the three legal theories
15     described above, plaintiff is the owner of the mark “Los Caminantes,” or is entitled to sole
16     use and ownership of the business, goodwill, trademark and service mark of “Los
17     Caminantes.”
18             106.        By their acts alleged herein, defendants have engaged in trade name
19     infringement and dilution, California Bus. & Prof. Code §§ 14330 et seq., and §§ 14402 et
20     seq.
21             107.        Defendants have intentionally deceived the public by misrepresenting that
22     their services are connected with plaintiff and plaintiff‟s musical group “Los Caminantes.”
23             108.        Plaintiff is informed and believes that the acts of defendants described
24     herein were undertaken willfully and with the intention of causing confusion, mistake or
25     deception.
26             109.        Monetary relief alone is not adequate to address fully the irreparable injury
27     that defendants‟ illegal actions have caused and will continue to cause plaintiff if
28




                                                 -18-
     Ramirez vs. Navarro                                                                  COMPLAINT
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1      defendants‟ conduct is not enjoined. Plaintiff therefore is also entitled to preliminary and
2      permanent injunctive relief to stop defendants‟ ongoing acts of unfair competition.
3                                    EIGHTH CLAIM FOR RELIEF
4                     (INTERFERENCE WITH PROSPECTIVE BUSINESS
5                                             ADVANTAGE)
6              110.        Plaintiff realleges and incorporates in this cause of action all previous
7      paragraphs of this complaint.
8              111.        This claim for relief arises under the common law of the State of California
9      and is alleged against all defendants.
10             112.        Defendants and each of them, through their actions, have interfered with the
11     prospective business advantage of plaintiff by interfering with the right of plaintiff to
12     exploit and benefit commercially from the trade name and mark of plaintiff and plaintiff‟s
13     musical group and the goodwill of the business of plaintiff‟s musical group.
14             113.        Plaintiff has been damaged by the tortious interference by defendants and
15     each of them with plaintiff‟s economic relations in an amount to be alleged by amendment
16     to this complaint.
17             114.        The aforementioned acts of defendants were and are willful, oppressive and
18     malicious. Plaintiff therefore should be awarded punitive damages in an amount to be
19     alleged by amendment to this complaint.
20                                    NINTH CLAIM FOR RELIEF
21                                           (CONVERSION)
22             115.        Plaintiff realleges and incorporates in this cause of action all previous
23     paragraphs of this complaint.
24             116.        This claim for relief arises under the common law of the State of California
25     and is alleged against all defendants.
26             117.        Plaintiff is informed and believes that defendants have taken assets
27     belonging to the Los Caminantes Partnership, including equipment useful in the live
28     performances of the musical group “Los Caminantes,” and have converted them to



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     Ramirez vs. Navarro                                                                  COMPLAINT
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1      defendants‟ use in connection with the activities of the pirate “Los Caminantes” group
2      defendants have formulated.
3              118.        Plaintiff is entitled to possession and control of the assets and equipment of
4      the Los Caminantes Partnership described above for purposes of conducting the business of
5      “Los Caminantes” and concluding the buyout of the interest of decedent Humberto
6      Navarro.
7              119.        Defendants and each of them have disposed of the property in a manner that
8      is inconsistent with plaintiff‟s property rights.
9              120.        As a result of the wrongful conduct of defendants, plaintiff has been
10     damaged in an amount to be alleged by amendment.
11             121.        The aforementioned acts of defendants were and are willful, oppressive and
12     malicious. Plaintiff therefore should be awarded punitive damages in an amount to be
13     alleged by amendment to this complaint.
14                                   TENTH CLAIM FOR RELIEF
15                     (TEMPORARY, PRELIMINARY AND PERMANENT
16                                       INJUNCTIVE RELIEF)
17             122.        Plaintiff realleges and incorporates in this cause of action all previous
18     paragraphs of this complaint.
19             123.        The continuing wrongful acts of defendants herein have harmed and
20     continue to harm the interest of plaintiff in the use of the name and mark “Los
21     Caminantes.” If this court does not issue a temporary, preliminary and permanent
22     injunction against defendants and each of them prohibiting the use of the name “Los
23     Caminantes” and other confusingly similar terms, in connection with the goods and services
24     of defendants‟ musical group, plaintiff will suffer irreparable harm for which there is no
25     adequate remedy at law.
26

27
                                                 PRAYER
28
               WHEREFORE, plaintiff prays for relief as follows:



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     Ramirez vs. Navarro                                                                  COMPLAINT
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1              1. For an order requiring defendants to show cause, if they have any, why they
2      should not be enjoined as set forth below, during the pendency of this action.
3              2. For a temporary restraining order, a preliminary injunction, and a permanent
4      injunction, all enjoining defendants and each of them and their agents, servants, employees
5      and co-venturers, and all persons in active concert or participation with them who receive
6      actual notice of the order by personal service or otherwise, from engaging in or performing
7      any of the following acts:
8                      (a) Using the name “Los Caminantes” or any confusingly similar or colorable
9      imitation of the name, in connection with advertising in any form, or in connection with the
10     goods or services of defendants or any of them;
11                     (b) Using the name “Los Caminantes” or any confusingly similar or colorable
12     imitation of the name, in any manner for the purpose of enhancing the commercial value of
13     the goods or services of defendants;
14                     (c) Otherwise infringing or diluting the distinctive quality of plaintiff‟s
15     service mark and trade name “Los Caminantes”;
16                     (d) Causing a likelihood of confusion, deception or mistake as to the makeup,
17     source, nature or quality of plaintiff‟s or defendants‟ services;
18                     (e) Contacting promoters, advertisers or other businesses for the purpose of
19     offering the services of defendants as “Los Caminantes” or any confusingly similar or
20     colorable imitation of the name.
21             3. For an order requiring defendants to deliver up and destroy all promotional
22     literature, advertising, goods and other material bearing the infringing, diluting or injurious
23     designations.
24             4. For actual damages in an amount not less than $100,000.
25             5. For three times the amount of plaintiff‟s actual damages suffered by reason of
26     defendants‟ infringement of plaintiff‟s mark and trade name.
27             6. For three times the amount of defendants‟ profits derived from infringement of
28     plaintiff‟s mark and trade name.



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     Ramirez vs. Navarro                                                                 COMPLAINT
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                       Ramirez vs. Navarro
                           Complaint


                        Exhibit A
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Browser to return to TESS)




Word Mark LOS CAMINANTES
Translations The foreign wording in the mark translates into English as The Walkers.
Goods and      IC 009. US 021 023 026 036 038. G & S: Series of prerecorded phonograph records, audio cassettes,
Services       video cassettes, and compact discs featuring music played in Spanish. FIRST USE: 19750214. FIRST
               USE IN COMMERCE: 19750214
Mark
Drawing        (5) WORDS, LETTERS, AND/OR NUMBERS IN STYLIZED FORM
Code
Serial
               78657655
Number
Filing Date June 24, 2005
Current
             1A
Filing Basis
Original
             1A
Filing Basis
Published
for            May 23, 2006
Opposition
Registration
             3129214
Number
Registration August 15, 2006
Date
          Case 2:11-cv-08012-R-DTB Document 1 Filed 09/27/11 Page 25 of 64 Page ID #:27
Owner         (REGISTRANT) Los Caminantes Partnership composed of Humberto Navarro and Agustin Ramirez, both
              citizens of Mexico PARTNERSHIP CALIFORNIA 412 S. Caldwell Avenue Ontario CALIFORNIA 91761
Attorney of
            Gilbert Rodriguez
Record
Type of
              TRADEMARK
Mark
Register      PRINCIPAL
Live/Dead
              LIVE
Indicator




                            |. HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY
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                       Ramirez vs. Navarro
                           Complaint


                        Exhibit B
 Case 2:11-cv-08012-R-DTB Document 1 Filed 09/27/11 Page 27 of 64 Page ID #:29




                            TMC MCNCHACA LAV FIRM
                                     a p'roj-essional (^orparabion
                                714 West Olympic Boulevard, Suite 450
                                    Los Angeles, California 90015
                                     Telephone: (213) 792 0877
                                         Fax: (213)745 6060

 September 14,2011

 Via Email
 Agustin Ramirez (c/o Eugenio Hernandez)


Re:      "LOS CAMINANTES" TRADEMARK- CEASE AND DESIST LETTER

Dear Mr. Ramirez:


         I represent the Estate of the late Humberto Navarro. Please accept this correspondence as
formal notice:

         1. That the Estate of Humberto Navarro is the sole and exclusive owner of the mark "Los
Caminantes".


         2. That you ceded and assigned any and all rights you had in the "Los Caminantes" mark
to Humberto Navarro by virtue ofa written "Assignment of Rights" dated January 16,2007.

         3. That the Estate of Humberto Navarro did not enter into an agreement nor has
authorized theappearance and performance ofthe"Los Caminantes" mark with you for any
dates.


      4.      That any advertisement, marketing and promotional materials which utilizes the
name of"Los Caminantes" that are announcing the appearance and performance of the"Los
Caminantes" is an infringement upon the rights of the Estate of Humberto Navarro.

        5.     That in an action for infringement, which ourclient is currently intending
to bring against you along with any other individual orentity involved in the use, advertising,
marketing and promotion of the name "La Caminante", you will be liable for statutory damages
ofup to $100,000.00 peruse, in addition to attorney fees' and costs.

         6.      It is the Estate's position that youraction by utilizingthe name"Los Caminantes"
iscausing a likelihood ofconfusion, deception or mistake asto the makeup, source, nature or
quality of"Los Caminantes".
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        Furthermore, pursuant to federal law, the use of the name "Los Caminantes" is directly
infringing upon the Estate's trademark, service mark and name, including without limitation as
follows:

               (a)     Using the name "Los Caminantes" or any confusing similar
or colorable imitation of the name, in connection with advertising in any form, or in connection
with the goods or services of"Los Caminantes";

               (b)    Using the name "Los Caminantes"orany confusing similar
colorable imitation ofthe name, in any manner for the purpose ofenhancing the commercial
value ofthe goods or services of "Los Caminantes";

               (c)       Otherwise infringing or diluting the distinctive quality ofthe Navarro
                         Estate's service mark and trade name "Los Caminantes".


               (d)     Causing a likelihood ofconfusion, deception or mistake as to the makeup,
source, nature or quality of Apodaca's services.

               (e)   On behalf of our client, we hereby demand that you cease and desist from
advertising, marketing, promoting, or using the name "Los Caminantes" and that you
immediately confirm to us in writing that you will not advertise, market, promote, use the name
"Los Caminantes", in connection with any events scheduled.

        Should you fail to immediately comply with the foregoing demand, our client shall be
compelled to take such actions against you as may be necessary to protect its rights and
interests, in which event you and all others acting in concert with you shall be held individually
and jointly liable for compensatory and punitive damages, profits, equitable relief, including
without limitation an injunction, attorneys' fees and court cost.(Copy of a draft of the
Complaint is attached)

       The foregoing is not intended to be a complete statement of the facts or ofthe law
relevant to this matter, nor of our client's legal and equitable rights and remedies, and nothing
herein above stated or omitted shall be deemed a waiver or limitation of any right, remedy or
cause of action of any kind whatsoever, all ofwhich are hereby expressly reserved to our client.



                                                      Menchaca

cc:     Mario Sotelo
        Ricardo Tarazon
        Martin Navarro
      . Salvador Espinoza
        David Sanchez
        Gerardo Rosas
        Victor Navarro
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                       Ramirez vs. Navarro
                           Complaint


                        Exhibit C
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 1   Alejandro Menchaca (State Bar No. 220471)
     THE MENCHACA LAW FIRM
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     Los Angeles, CA 90015
 3   Telephone: (213)792-0877
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 4   Email:     amenchaca@ymail.com
 5   Attorneys for Plaintiff
 6

 7                           UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9

10

11   ESTATE OF HUMBERTO A.                           CASE NO.
     NAVARRO                                         COMPLAINT FOR:
12
                        Plaintiff,                   1) FEDERAL TRADEMARK
13
                                                     INFRINGEMENT;
              v.
14                                                   2) FEDERAL TRADEMARK
                                                     COUNTERFEITING;
     AGUSTIN RAMIREZ, an individual;                 3) FALSE DESIGNATION OF
15   LOS CAMINANTES PARTNERSHIP,                     ORIGIN;
     a partnership                                   4) TRADEMARK DILUTION;
16
                        Defendant
                                                     5) STATE LAW
17                                                   INFRINGEMENT:
                                                     6) INTERFERENCE WITH
18                                                   PROSPECTIVE BUSINESS
                                                     ADVANTAGE:
19                                                   7) ACCOUNTING;
                                                     8) INJUNCTIVE RELIEF;
20
                                                     9) DISSOLUTION OF
                                                     PARTNERSHIP
21
                                                     DEMAND FOR JURY TRIAL
22

23

24

25   Plaintiff Estate of Humberto Ambriz Navarro alleges:

26
                                     JURISDICTION AND VENUE
27
              1.     This Court has exclusive subject matter jurisdiction as to the violations
28

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 1 of the Lanham Act pursuant to 15 U.S.C. § 1121,28 U.S.C. §§ 1331,1332(a)-(c)
 2
     and § 1338(a). This Court also has pendant jurisdiction over the state causes of
     action relating to unfair competition and to trademark, service mark, trade name

 5   and trade dress infringement, pursuant to 28 U.S.C. § 1338(b).

            2.    The Court has specific personal jurisdiction over all the defendants as
 7

 8 each has purposefully committed, within the state, the acts from which these claims
 9   arise and/or has committed tortuous acts outside California, knowing and intending
10
     that such acts would case injury within the state.
11

!2          3.    Venue in this action is proper in the United States District Court for
13   the Central District of California by virtue of28U.S.C. §§ 1391(b) and 1391(c) in
14
     that some defendants reside in this District, transact affairs in this District and that a
15

16   substantial part ofthe events or omissions giving rise to the claims herein occurred

17   within this District.
18
                                         THE PARTIES
19

20         4.     Plaintiff is the Estate of Humberto AmbrizNavarro ("Navarro"), the

21   co-founder ofthe popular Spanish musical group, "Los Caminantes,\ Navarro died
22
     on June 5, 2011 in San Bernardino County, California.
23

24          5.    Plaintiff is informed and believes, and based thereon alleges that Los

25   Caminantes is, and at all times relevant hereto was apartnership, conducting
26
     business within the Central District of California with its principal place of business
27

28   withinthe County of San Bernardino, State ofCalifornia. The partnership is
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 1 comprised of the late Humberto Navarro and Defendant Agustin Ramirez.
 2
           6.     Plaintiff is informed and believes, and based thereon alleges, that
 3

 4
     Defendant Agustin Ramirez resides within the Central District ofCalifornia.

 5   Specifically, Defendant resides inthe County of San Bernardino, State of
 6
     California. Navarro is the sole person in complete control ofthe partnership.
 7
 8         7.     The true names and capacities, whether individual, corporate,
 9   associates, employee, orotherwise, of the defendants sued herein as Does 1through

     25, inclusive, currently are unknown to Plaintiff and Plaintifftherefore sues said
11

12   defendants by such fictitious names. Plaintiff is informed and believes and based
13   upon such information and beliefalleges that each of the defendants designated
14
     herein as a Doe is responsible legally in some manner for the acts, conduct,
15

16   omissions and events referred to herein, causing injury and damages proximately
17   thereby to Plaintiff, as alleged hereinafter. Plaintiff will seek leave to amend this
lg
     Complaint to allege the true names, capacities and circumstances establishing the

20   liability of the defendants designated herein as Does 1through 25, inclusive, at

21   suchtime as Plaintiffascertains the same.
22
           8.     Plaintiff is informed and believes and based upon such information
23

24   and belief alleges that, at all times herein relevant, each of the defendants was the
25
     agent, servant, employee, supervisor, co-venturer, subsidiary and/or corporate-
26
     parent of each ofthe remaining defendants and, at all times herein relevant, each
27

28   defendant was acting within the course, scope, purpose, consent, knowledge,
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 1   ratification, and authorization of such agency, employment, joint venture,
 2
     subsidiary and/or corporate-parent relationship.
 3

 4         9.      Whenever, in this Complaint reference is made to "Defendant," such
 5   allegations shall refer to all defendants named herein, including all defendants

     designated herein as Does, and shall be deemed to mean the conduct of any and all
 7

 g such defendants acting individually, jointly and/or severally.
 9                             GENERAL ALLEGATIONS
10
           10.    Los Caminantes is a popular, Spanish-language musical group that
11

12   was formed in 1975 byHumberto Navarro, Agustin Ramirez, and three former

13   band mates, two of which are now deceased.
14
           11.    Since its inception, Navarro, at great expense and effort, developed the
15

16   musical group known as "Los Caminantes" which began recording sound master

17   recordings, along with promoting and marketing musical performances for the
18
     musical group. The musical group came to be one ofthe most successful Spanish-
19

20   language acts of its time, and continues to be so.

21         12.    After three oforiginal band members were no longer part ofthe group,
22
     the two remaining founders, Humberto Navarro and Agustin Ramirez, foimed the
23

24   Los Caminantes Partnership on or about 1998 to operate the musical group, account
25
     for the group's revenues, and distribute all profits and losses to the partners. By
26
     virtue of such partnership agreement, allpartners agreed to share equally in the
27

28   profits and losses ofthe Los Caminantes Partnership.
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 1I           13. Plaintiff also alleges claims for federal trademark infringement and
 2
      unfair competition inconnection with Defendant Ramirez's unauthorized and
      unlawful use and misappropriation of a duly registered federal trademark and

 5 1 service mark "Los Caminantes'' in association with the musical group.
              14.   Navarro has used the name "Los Caminantes" substantially and
 7

 g continuously throughout the United States and Latin America since 1975.
 9            15.   Navarro has used the "Los Caminantes" name in association with the
10
      musical group's sound recordings and compositions since 1975.

12            16.   Navarro has exhibited the musical group named "Los Caminantes" at

13    live music performances in venues throughout the United States and Mexico since
14
      1975.
15

16            17.   Navarro has used the"Los Caminantes" mark for live music

*7    performances as well as on promotional flyers, electronic and print media, and
18
      other forms of advertisement and marketing for "Los Caminantes" musical
19

20    performances.

21            18.   The "Los Caminantes" mark was initially registered in 1990 by Abel
22
      De Luna and thereafter in 1993 by Luna Music Company, the musical group's
23

24 | former manager and management group, respectively. That registration pertained to
25
      any sound recordings made by the group.
26
              19.   Following litigation between Navarro and Ramirez, on the one hand,
27

28    and De Luna (and various entities controlled by him), on the other, the parties
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 1   entered into a settlement agreementwhereby the De Luna parties agreed to assign
 2
     to Navarro and Ramirez any and all interests they may have in the registered
 3

 4   trademark, "Los Caminantes".

 5         20.    On or about August 15,2006,the Los Caminantes Partnership
 6
     composed ofHumberto Navarro and Agustin Ramirez registeredthe "Los
 7

 8   Caminantes" trademark.

 9         21.    On or about January 16,2007, Agustin Ramirez assigned all his rights
10
     in the trademark and name "Los Caminantes" to Humberto Navarro by virtue of a
11

12   written "Assignment of Rights". A true and accurate copy of a translation of that

13   mark is attached byExhibit A and incorporated herein by reference.
14
           22.   At all times since the assignment and up until the time ofhis death,

16   Navarro maintained the "Los Caminantes" federal trademark and enhanced the

     mark's value.
18
           23.   Navarro has continually and substantially advertised and marketed

20   performances and other entertainment services, as well as goods, in connection with
21
     the mark "Los Caminantes". Navarro has spent considerable sums of money
22
     promoting and enhancing the goodwill associated with the "Los Caminantes"
23

24   performances, services, and products throughout the United States and Mexico.
25
           24.   Since being assigned the trademark and up until the time of his death,
26
     Navarro has continually controlled the content and quality of the "Los Caminantes"
27

28   musical performances and other services and goods.
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     1
                25.    As a result of Navarro's aforementioned use, promotion and publicity,
     2
          the "Los Caminantes" mark has continued to acquire enormous value and
     3

     4    inestimable goodwill, and has become extremely well-known and famous to the
     5
         consuming public and trade as identifying a source ofhigh quality.
     6
                26.    Navarro's efforts have strengthened the public meaning ofthe
  7

  8      inherently distinctive trademark and service mark "Los Caminantes". The mark is
  9
         used to indicate the source ofNavairo's "Los Caminantes" public performances and
 10
         other goods and services, identifying and distinguishing them from those rendered
 11

12       or sold by others.

13
               27.    Following the death of Navarro, Plaintiff's Estate holds exclusive
14
         rights in the "Los Caminantes" mark. Despite being placed on notice that Martin
15

16       Navarro now holds all rights to the "Los Caminantes" mark, Defendant Ramirez
17
         still continues to use the mark in association with live musical performances, in
18
         violation ofthe assignment and applicable law. Plaintiff Estate now seeks to puta
19

20       stop to Agustin Ramirez's unlawful and unauthorized usage ofthe mark in
21
         associationwith the musical group "Los Caminantes".
22 i
               28.    Plaintiffalleges on information and belief that Defendant Agustin has

24       knowingly misrepresented to the general public that his is the rightful owner of the
25
         trademark and service mark "Los Caminantes".
26
               29.    Plaintiff alleges on information and belief that Defendant Ramirez has
27

28 | knowingly misrepresented in promotional materials, advertisements, and flyers that
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 1 they are the owners ofthe mark and trade name "Los Caminantes".
           30.   Plaintiff alleges on information and beliefthat Defendant Ramirez has
     knowingly and intentionally held his musical group out to concert promoters, venue
 5 operators, and the general public as "Los Caminantes". Furthermore, Defendant
     Ramirez has scheduled performances in the coming days and weeks in California
     and elsewhere, wherein he has used or plans to use the "Los Caminantes" mark in
 9   connection with these performances

           31.    Meanwhile, Plaintiff is irreparably harmed each time Defendant
11

12 practice his deceptions upon an unsuspecting public. Such customers are less likely
13   to be as trusting when aperformance by Plaintiffs musical group is advertised.
14
     The damage to Plaintiffs reputation, earning ability and bottom line is incalculable
15

16 and the harm is irreparable. Defendant can be expected to continue his conduct in
17   order to benefit from the confusion they are causing unless enjoined from such
18
     unlawful and deceptive conduct.
19

20         32.    Respecting the Los Caminantes Partnership, Defendant Agustin
21   Ramirez has also wrested control ofthe finances ofthe musical group following the
22
     death ofNavarro. In essence, since Navarro's death, Ramirez has locked out
23

24   Plaintiff Estate and Navarro's son, Martin Navarro from ascertaining the proper
25   sums being generated by the group's performances.
26
           33.    Specifically, since the time of Navarro's death, Ramirez has failed to
28   provide Navarro's representatives with an accounting ofthe group's performance
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  1    revenues or royalties from the sale and distribution of its musical compositions and
 2
       sound recordings. Following each performance, Ramirez merely provides
 3

 4     Navarro's son, Martin Navarro, with an unsubstantiated statement reflecting

 5     amounts that are paid to the band members, itsnew manager, as well as a listing of
 6
       costs. Ramirez has failed together to provide Navarro with any documents
 7

 3     reflecting ticketsales, receipts, or costs associated with a performance.

 9            34.   Additionally, while Ramirez had previously paid Navarro fifty (50)
10 U
       percent of net profits from performances revenues, following Navarro's death,

12     Ramirez has breached the Partnership Agreement by paying Navarro's

13     representative (Martin Navarro) well below that fifty percent (50) fee. Indeed,
14
       Navarro makes less than the present manager.

16 |         35.    Since its commencement, Defendant Los Caminantes Partnership and
17
       Agustin Ramirez have failed to issue financial statements, accountings and to make
18
       any proper disbursements to Plaintiff, or Martin Navarro.
19

20           36.    Defendant Ramirez has failed to account for all amounts received for

21
       the appearances and performances of Plaintiff, along with the amounts deposited
22
       into Defendants' bank accounts for those appearances and performances.
23

24 |         37.    Defendants LosCarninantes Partnership and Ramirez have received
25
       considerable monies from live performances and royalties without accounting to the
26
       Plaintiff or providing the agreed-upon percentage of net profits.
27

28           38.    Defendant Ramirez has engaged in pervasive fraud, mismanagement,
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 1   abuse of authority, and persistent unfairness toward Plaintiffand MartinNavarro.
 2
     Furthermore, the assets of Los Caminantes are being misapplied or wasted by
 3

 4 Defendant Ramirez in that he has taken money, profits, and financial assets ofthe
 5   Caminantes Partnership and hasused them for personal gain. Plaintiff is also
 6
     informed and believes thereon that Defendant Ramirez has further commingled
 7

 g monies and profits ofDefendant Caminantes Partnership with his personal bank
 9   accounts preventing a proper accounting of said monies and profits.
10
                                FIRST CLAIM FOR RELIEF
11

12                  Trademark Infringement in Violation of Section 32

13      of the Lanham Act, 15 U.S.C. § 1114 against Defendant Agustin Ramirez
14
          39. Plaintiff realleges and incorporates by reference paragraphs 1 through

16 I 38 of this complaint as though fully set forth herein.

17         40. This claim for reliefarises under Section 32 ofthe Lanham Act, 15
18
     U.S.C. § 114 and is alleged against all Defendants. Plaintiff is the Estate of

20   Humberto Navarro, which owns the exclusive rights in the mark "Los Caminantes".

     in commerce in connection with the services of the musical group as perfomiing
22
     and recording artists. The mark "Los Caminantes" is inherently distinctive and has
23

24   acquired a secondary meaning to referring to Plaintiffs group
25
           41, Defendant Ramirez has no colorable right or claim to use the mark as
26
     Agustin Ramirez assigned all his rights to the mark pursuant to an Assignment of
27

28   Rights dated January 16,2007.

                                               m
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 1          42. The foregoing acts of Defendant Ramirez constitute infringement ofU.S.
 2
     Trademark Registration No. 3,129,214 in violation of Section 32 of the Lanham
 3

 4   Act, 15 U.S.C. §1114.

 5          43. Defendant's unauthorized use of"Los Caminantes" as a mark falsely
 6
     indicates to consumers that Defendant's entertainment services originate from, are
 7

 g   approved by, are licensed by, or are affiliated with Plaintifforare otherwise

 9   associated with Plaintiffs entertainment services and live music performances.
10
           44.    Defendant's unauthorized use of "Los Caminantes" in the manner
11

12   described above is likely to cause confusion, to cause mistake, or to deceive the

13   public into believing Defendant's goods and services originate from or are
14
     associated with Plaintiff or its licensee/assignee.
15

16         45.    Defendant's unauthorized use ofthe "Los Caminantes" mark removes

 7 Plaintiffs ability to control the nature and quality ofthe goods and services
18
     provided under its "Los Caminantes" mark and places the Plaintiffs valuable

20 | reputation and goodwill in the hands ofthe Defendant.
21
           46.    Plaintiffs mark is entitled to strong protection under Section 32 ofthe
22
     Lanham Act because such mark, when used to identify entertainment services and
23

24   live music performances is "arbitrary" as to such services.
25
           47.    Plaintiff believes that it has or is likely to be damaged by Defendant's
26
     use of the mark at issue and will suffer irreparable harm.
27

28         48.    Defendant is therefore liable, without limitation, for the remedies
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     1    provided for in 15 U.S.C. § 1114(2), 1116,1117 and 1118.
     2
                                  SECOND CLAIM FOR RELIEF
     3

     4       Federal Trademark Counterfeiting, 15 U.S.C. § 1114 against Defendant
 5
                                               Ramirez
 6
                49.   Plaintiffrealleges and incorporates by reference paragraphs 1 through
 7

 g       48 ofthis complaint as iffully set forth herein.
 9
                50.   This claim for relief arises under 15 U.S.C. § 114 and is alleged
10
         against Defendant Ramirez.
11

12 J           51.    Defendant's foregoing acts constitute federal trademark
13
         counterfeiting ofPlaintiffs federally registered trademark "Los Caminantes" as
14
         defined by 15 U.S.C. §§ 1114,1116.
15

16 |           52.    Federal registration of a trademark is prima facie evidence of a
17
         registrant's exclusive right to use the registered trademark in commerce in
18
         connection with the goods or services specified in the certificate, pursuant to 15
19

20       U.S.C. § 1057(b). Plaintiff Estate is the exclusive owner of the "Los Caminantes
21
         trademark, possesses the right to initiate proceedings to enforce, protect, and defend
22
         the "Los Caminantes" brand.
23

24             53.    Plaintiffhas continually and substantially advertised and marketed
25
         performances and other entertainment services, as well as goods, in connection with
26
         the mark "Los Caminantes". Navarro spent considerable sums of money promoting
27

28       and enhancing the goodwill associated with the "Los Caminantes" performances,
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 1   services, and products throughout the United States andin foreign countries.
 2
           54.    Defendant is presently advertising the performances of musical groups
 3

 4
     presenting themselves as "Los Caminantes" at public performances that have taken
 5   place over several years.
 6
           55.    Defendant's willful and intentional counterfeiting, imitating, and
 7
 8 copying ofPlaintiffs registered trademark has confused, and will likely continue to
 9   confuse or deceive the public into believing Defendants' goods and services
10                                                        f
     originate from or are associated with the late Humberto Navarro and his estate.
11

12         56.    Defendant's activities are in violation of 15 U.S.C. § 1116(l)(a) and
13   constitute counterfeiting of a registered trademark in connection with the sale or
14
     offering for sale of a service which is likely to cause confusion, mistake or
15

16   deception with the services offered byPlaintiff.

17                               THIRD CLAIM FOR RELIEF
18
           False Designation of Origin and Unfair Competition in Violation of
19

20       Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a) against Defendant

21                                           Ramirez
22
           57.    Plaintiffrealleges and incorporates by reference paragraphs 1 through
23

24   63 of this complaint as if fully set forth herein.

25          58. This claim for relief arises under Section 43(a) of the Lanham Act, 15
26
     U.S.C. § 1125(a) and is alleged against Defendant Ramirez.

28         59.    Defendants' unauthorized use of the "Los Caminantes" mark, trade
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       name, and trade dress falsely indicates to consumers that Defendant's entertainment

       services originate from, are approved by, are sponsored by, are licensed by, or are

       affiliated with Plaintiff or are otherwise associated with Plaintiffs entertainment

       services and live music performances.

                 60.   Defendant's unauthorized use of the "Los Caminantes" mark in the




 9 I the public into believing Defendant's goods and services originate from or are
10 .
       associated with Plaintiff.
11

12               61.   Defendant's infringement has been intentional and wiilful, constituting

13     and exceptional case pursuant to Section 35 ofthe Lanham Act, 15 U.S.C. § 1117.
14
       Plaintiff is therefore entitled to recover three times the amount of: (1) Defendants'
15

16     profits; and (2) Defendants' actual damages, including pre-judgment interest.
17
       Plaintiff is further entitled to recover their attorney fees and costs incurred in this
18
       action.
19

20 I             62.   Defendant's unauthorized use of the "Los Caminantes"
21
       Trademark, trade name and trade dress removes from Plaintiff the ability to control
22
       the nature and quality of the goods and services provided under its "Los
23

24     Caminantes" mark and places the valuable reputation and goodwill of Plaintiff in
25
       the hands of the Defendant.
26
             63.       Plaintiffs mark is entitled to strong protection under Section 43(a) of
27

28     the Lanham Act because such mark, when used to identify entertainment services
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 1   and musical sound recordings, is "arbitrary" as to such services, and because
 2                                                                    .
     Plaintiffhas extensively promoted the mark to the relevant public.
 3

 4          64.   Plaintiffhas been or is likely to be irreparably damaged by

 5   Defendant's use of the mark, trade name, and trade dress at issue.
 6
           65.    Defendant's actions, as set forth above, constitute trademark, trade
 7

 g   name and trade dress infringement in violation of Section43(a) of the Lanham Act,

 9   15 U.S.C. § 1125(a).
10
           66.    Defendant is therefore liable, without limitation, for the remedies
11

12   provided for in 15 U.S.C. § 1114(2), 1116,1117, and 1118.

13                            FOURTH CLAIM FOR RELIEF
14
        Trademark Dilution Under The Lanham Act against Defendant Ramirez

16         67.    Plaintiff realleges and incorporates by reference paragraphs 1 through

17   73 ofthis complaint as iffully set forth herein.
18
           68.    This claim for relief arises under Lanham Act and is alleged against

20   the Defendant.

           69.    The trade name and mark ofPlaintiffs, "Los Caminantes" has become
22
     famous throughout the United States, through use in advertising of the musical

24   group's services, through radio airplay, record sales, the appearance of the musical
25
     group on television broadcast in Latin America and the United States, over the
26
     Internet and social media sites, newspaper and magazine articles concerning the

28   group and public appearances at concerts, dances and events.
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 1       70.      Defendant's use of the "Los Caminantes" mark and distinctive
2
     designs tarnishes the image ofand dilutes the distinctive character ofthe "Los
 3
 4 Caminantes" mark and will diminish and destroy the public association ofthe trade
 5   name and mark of Plaintiff.

           71.    Inengaging in the actions complained ofabove, Defendant willfully
 7

 g intended and intend to trade on the reputation ofthe musical group.
9          72.    In engaging inthe actions complained of above, defendants and each

     ofthem have willfully intended to cause dilution ofthe famous trade name and
11

12   mark belonging to Plaintiffs Estate.
13         73.     For each act of unfair competition, Plaintiffis entitled to recover
14                                                                , . _
     actual damages as well as Defendants' profits from such infringement.
15

16          74.     Defendants' continuous use ofPlaintiffs trademark and
17   distinctive designs diminishes and dilutes the distinctive value ofthe mark, to the
18
     great detriment of Plaintiffin contravention of 15 U.S.C. § 1125(c)(1).
19

20         75.      As a result ofDefendants' activities, Plaintiff and the public have
21   been and are likely to be further irreparably damaged.
22
                                FIFTH CLAIM FOR RELIEF
23

24      State Law and Statutory Trade Name Infringement and Dilution against
25                                    Defendant Ramirez
26
           76.      Plaintiffrealleges and incorporates by reference paragraphs 1
27

28   through 75 of this complaint as if fully set froth herein.
                                                1£
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 1          77.     This claim for relief arises under the laws of the State of California
 2
     and is alleged against Defendant Ramirez.
 3

 4          78.     By their acts alleged herein, Defendant has engaged intrade name
 5   infringement and dilution pursuantto California Business and Professional Code §§
 6
     14330 et seq., and §§ 14402 et seq.
 7

 8           79.    Defendant has intentionally deceived thepublic by misrepresenting

 9   that they are connected with the musical group pertaining to Navarro's Estate.
10
            80.     Plaintiff is informed and believes that the acts of Defendant
11

12   described herein were undertaken willfully and with the intention ofcausing

13 I confusion, mistake or deception.
14
            81.     Monetary relief alone is not adequate to address fully the irreparable

16 J injury that Defendant's illegal actions have caused and will continue to cause
17   Plaintiff ifDefendant's conduct is not enjoined. Plaintifftherefore is also entitled
18
     to preliminary and permanent injunctive reliefto stop Defendant's ongoing acts of

20   unfair competition.

21                             SIXTH CLAIM FOR RELIEF
22
      Inference With Prospective Business Advantage against Defendant Ramirez
23

24         82.      Plaintiffrealleges and incorporates by reference paragraphs 1
25
     through 81 of this complaint as if fully set forth herein.
26
            83.     This claim for relief arises under the common law of the State of
27

28   California and is alleged against Defendant Ramirez.
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 1            84.     Defendant, through his actions, has interfered
 2
       with the prospective business advantage ofPlaintiff by interfering with the right of
 3

 4     Plaintiffto exploit and benefit commercially from the trade name and mark, "Los

 5     Caminates".
 6
             85.     Plaintiff and his licensee/assignee have been damaged by the tortious
 7

 g     interference by defendant with Plaintiffs economic relations in an amount to be

 9 alleged by amendment by this complaint.
10
             86.     The aforementioned acts of Defendant was willful,
11

12 S oppressive and malicious. Plaintifftherefore should be awarded punitive damages

13     inan amount tobe alleged by amendment to this complaint.
14
                                SEVENTH CLAIM FOR RELIEF
15

16 I                              Accounting against Defendants

17          87.      Plaintiffrealleges and incorporates by reference paragraphs 1through
18
       86 of this complaint as if fully set forth herein.

20          88.      The claim for relief arises under the common law of the State of
21
       California and is alleged against all Defendants,
22
            89.     Defendants are in possession of information relating to monies paid
23

24     to Defendants from their misleading and deceptive practices described herein,
25
       which represents a misappropriation of monies from Plaintiff and Plaintiffs
26
       licensor. The books, accounts, records, ledgers, etc. which provide this information
27

28 I are in the possession of Defendants and each of them. The amount of damages,
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     1   profits and interest owing to Plaintiff from Defendants cannot be ascertained
 2
         without an accounting by Defendants and each of them. Defendants and each of
 3

 4       themhave also benefitted economically from the usuipation ofthe trade name and

         service mark of Plaintiff without accounting to Plaintiff or its representatives for the

         income and profits realized by Defendants and each ofthem as a result of such

         activities.


 9            90.      Plaintiffhereby demands, and is entitled to, an accounting ofall
10
         monies received by Defendants from use of the mark and trade name ofPlaintiffs
11

12       licensor and any other confusingly similar terms.

13                                   EIGHT CLAIM FOR RELIEF
14
         Temporary, Preliminary and Permanent Injunctive Relief against Defendants

16              91.     Plaintiff realleges and incorporates by reference paragraphs 1 through

17       90 ofthis complaint as iffully set forth herein.
18
               92.      The continuing wrongful acts of Defendants herein have harmed and
l"

20       continue to harm the interest of Plaintiff in the use ofthe name and mark "Los
21
         Caminantes" and any confusingly similar names. If this court does not issue a
22
         temporaiy, preliminary and permanent injunction against the Defendants and each
23

24       of them prohibiting the use of the name "Los Caminantes" and other confusing
25
         similar terms, in connection with the goods and services of Defendants' musical
26
         group, Plaintiffand Plaintiffs licensee/assignee will suffer irreparable harm for
27

28 I which there is no adequate remedy at law.
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 1                             NINTH CLAIM FOR RELIEF
 2
     (Involuntary Dissolution of Partnership and Appointment of Receiver Against
 3

 4            Defendants Los Caminantes Partnership and Agustin Ramirez
 5      93. Plaintiffincorporates by reference the allegations contained in paragraphs

     1 through 92, inclusive, of this Complaint as though fully set forth herein.
 7

 8      94. Since the partnership business began, Defendants willfully committed a
 9   breach of the partnership agreement by wrongfully misappropriating profits of the
10
     paitnership and failing to account to Humberto Navarro. As a result of Defendants'
11

12   behavior, it is not reasonably practicable to carry on the business with them and
13   plaintiff is entitled to ajudicial decree ofdissolution ofthe partnership,
14
           95. That at the commencement ofthe partnership business, Defendants took
15

16   exclusive control and possession ofthe partnership books and accounts and since
17   that time have taken, for their own use, large sums of money from the receipts and
18
     profits of the partnership business exceeding their rightful shai'e. Defendants have
20   refused and continue to refuse to account to plaintiffconcerning the allocation of
21   partnership profits despite plaintiffs repeated demands that they account and
22
     distribute paitnership profits to plaintiff in compliance with the terms of the

24   paitnership agreement.

25         96.    That since the inception ofthe partnership, Plaintiffand Defendants
26
     have been unable to agree upon the proper and reasonable management ofthe

28   partnership business. As a result of the continuing disagreement concerning
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 1 managerial control, it has become impossible to carry on the Partnership Business.
 2
                  97.       That because of Defendants' behavior, it is not reasonably
 3

 4 practicable to carry on the business in paitnership and Plaintiffis entitled to a
 5   judicial decree of dissolution ofthe partnership.
 6
            98.   That unless a receiver is appointed, the property and accounts ofthe
 7

 g partnership are in danger of being lost, removed, or materially injured since
 9   Defendants are in control of all paitnership assets and are applying those assets to
10
     their own use in violation ofthe paitnership agreement. It is necessary that a
11

12   receiver be appointed to take possession of all property and accounts of the
13   partnership, to receive accounts receivable, pay current debts, and wind up the
14
     business ofthe partnership.

16                99.      That unless Defendants are immediately enjoined from

17   collecting or receiving, or in any matter interfering or meddling with, or disposing
18
     of, the assets, property or other effects ofthe partnership, pendingthe final
19

20   detenriination inthe action, plaintiffwill suffer great and irreparable harm in that

21   partnership assets under the control ofthe Defendants will be sold or hidden,
22
     making it impossible for plaintiffto determine and receive his share ofthe

24   partnership assets.

25         100.     Plaintiff has performed all of his obligations under the terms and
26
     conditions of the Paitnership Agreement.

28                                  PRAYER FOR RELIEF
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 1           WHEREFORE, Plaintiffdemands judgment as follows:
2
       ON THE FIRST THOUGH EIGHTH CLAIM FOR RELIEF:

                   1. For an order requiring Defendants to show cause, ifthey have any,

 5 why they should not be enjoined as set forth below, during the pendency ofthis
 6
       action.


                   2,     For atemporaiy restraining order, a preliminary injunction and a
 9 permanent injunction, all enjoining Defendants and each ofthem and their agents
10                                             • ,i
       servants, employees and co-ventures, and all persons in active concert or
11

12     participation with them who receive actual notice ofthe order by personal service
13     or otherwise, from engaging in or performing any ofthe following acts:
14
                          (a)   Using the name "Los Caminantes" or any confusing
15

16
                          similar or colorable imitation of the name, in connection with

17                        advertising in any form, or in connection with the goods or

                          services of Defendants or any of them.
19
20                        (b)   Using the name "Los Caminantes"or any confusing
21                        similar colorable imitation ofthe name, in any manner for the
22
                          purpose of enhancing the commercial value ofthe goods or
23

24                        services ofDefendants;

25                        (c)   Otherwise infringing or diluting the distinctive quality of
26
                          Plaintiffs service mark and trade name "Los Caminantes ;
27

28 i                      (d)   Causing alikelihood ofconfusion, deception or mistake
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 1                    as to the makeup, source, nature or quality of Plaintiffs or
 2
                      Defendants' services.

                      (e)     Contacting promoters, advertisers or other businesses for
 5                    the purpose of offering the services ofDefendants as"Los

                      Caminantes" orany confusing similar or colorable imitation of
 7

 g                    the name.

 9                    3.      For an order requiring the Defendants to deliver up and

                      destroy all promotional literature, advertising, goods and other
11

12                    materials bearing the infringing, diluting or injurious
13                    designations.
14
                4.    For actual damages in amount not less than $
15

16              5.    For three times the amount of Plaintiffs actual damages
17              suffered by reason ofDefendants' infringement ofPlaintiffs mark and
18
                trade name.
19

20              6.    For three times the amount of Defendants' profits derived from
21              the infringement of Plaintiffs mark and trade name.
22
                7.    For punitive damages in an amount to be proved at trial.
23

24              8.    For prejudgement interest.

25              9.    For an accounting of all monies received by Defendants fonn
26
                their activities in connection with the use of the name "Los
27

28              Caminantes".
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 1                10.    For costs of suit.
2
                  11.    For reasonable attorney fees.

                  12.    For such relief as the court may deem appropriate

 5   ON THE NINTH CAUSE OF ACTION
 6
           13.    That the partnership be dissolved.

           14.      For an order that an accounting be taken of all the dealings and

 9 transactions ofthe paitnership business from its commencement, and that all the
     money received byand paid to defendants respectively, inrelation to the
11
12 1 paitnership, and that Plaintiffhave judgment against defendants for any and all
13 I sums that may be found owing Plaintiff.
14
            15.   That the partnership property be sold and the partnership debts and
15

16   liabilities be paid off, and the surplus if any, be divided and distributed to Plaintiff
17   and defendants in accordance with the terms ofthe partnership;
18
            16.   That a receiver be appointed, with usual powers and duties, to take
19

20 possession ofthe property and the assets ofthe paitnership, to wind up the affairs of
21   the partnership, and to have custody ofthe accounts and property ofthe paitnership
22
     pending their final distribution to the partnership.
24          17.   That pending a final settlement of all partnership affairs, defendants be
25   immediately enjoined from collecting and receiving, or in any manner interfering or
26
     meddling with, or disposing of, the debts, money, property, and other effects ofthe
27

28   partnership or from entering into any new transactions in the name or on behalfof
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 1   the partnership
 2
                         AS TO ALL CAUSES OF ACTION:
 3

 4
           18.         For costs; and expenses of suit.

 5         19.         For such other and further relief as the court deems just.
 6

 7

 8   Dated: September 14,2011                   THE MENCHACA LAW FIRM

 9

10

11                                              Alejandro Menchaca
                                                Attorney for Plaintiff
12                                              Estate of Humberto Navarro

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                       Ramirez vs. Navarro
                           Complaint


                        Exhibit D
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                       Ramirez vs. Navarro
                           Complaint


                        Exhibit E
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                       Ramirez vs. Navarro
                           Complaint


                         Exhibit F
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                                                                                                                                                                                                               SEARCH

                                                         SUPER BAILAZO
                                                                                                                                                                                 SEPTEMBER 2011
                                                                                                                                                                          Su Mo           Tu We       Th      Fr     Sa
       Exact Dates
       Weekends Only
       Harrah's Rate Calendar
 Check In Date



 Check Out Date                                                                                                                                                                                              23


 Adults     Children
   1          0                                                                                                                                                            UPCOMING SHOWS

                                                           FRIDAY, SEPTEMBER 23, 2011
                                                           SHOWTIME: 9:00PM                                                                                            PURCHASE TICKETS
                        No Resort Fees
                                                           The Pavilion at Harrah's Rincon (San
       Vie w/Ca nce l R e se rvation                       Diego)

                                                           Kick off the fall season with Los Caminates, Los Caminantes, Rocio y Su
                                                           Sonora and La Luz Roja de San Marcos in the Pavilion on Friday, September
                                                           23rd at 9pm. Dance the night away at this Super Bailazo that will be the talk of
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                                                           la ciudad!
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 Promotions/Events
 Concerts/Shows
                                                                LOCATION                                         EVENT CATEGORY                             EVENT SUBCATEGORY
 – Open Sky Theater
                                                                  Harrah's Rincon (San                           ALL                                         ALL                                          SUBMIT »
 – Oasis Lounge
 – Pavilion                                                     EVENT VENUE                                      FROM                                       TO
 Dining                                                           ALL                                             1           Jan / 2011                     1            Jan / 2011
 Things To Do
 – Spa at Harrah's
 – Pool
 – Sports Pit
 Weddings
 Groups & Meetings
 Group Getaways
 In the Community
 Press Releases
 Maps & Information
 – Bus Routes
 En Español




 C O M P A N Y I N FO     M O BI L E    C A RE E RS      I N V E ST O R RE L A T I O N S    G RO U P S & M E E T I N G S        E -M A IL SIGN U P       BE C O M E A N A FFI L I A T E     RE SP O N SI BL E G A M I N G




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